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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION


   PUES FAMILY TRUST IRA, MICHAEL
   PUES EXECUTOR

   v.

   PARNAS HOLDINGS, INC, LEV PARNAS                          Case No. 19-MC-80024 DMM

           Debtor.
                                            /

                     NOTICE OF SERVICE OF FIRST SET OF INTERROGATORIES
                       IN AID OF EXECUTION TO DEFENDANT LEV PARNAS

           Plaintiff and Judgment Creditor PUES FAMILY TRUST IRA, MICHAEL PUES EXECUTOR,

   pursuant to the applicable rules of procedure, by and through counsel, hereby gives notice of service of its

   First Set of Interrogatories in Aid of Execution to Defendant LEV PARNAS.

                                                    Respectfully submitted,

                                                    ANDRE LAW FIRM P.A.
                                                    Counsel for Plaintiff/Judgment Creditor
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                                                    Tel. 786 708 0813
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                                                 By: /s/ Tony André
                                                     Tony André, Esq.
                                                     Florida Bar No.: 0040587
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                                   CERTIFICATE OF SERVICE

            I certify that on this 14th day of May 2019, I filed the foregoing with the Clerk of the
   Court and have served copies of this pleading via first class mail on the following parties, I also
   certify that I am admitted to the United States District Court for the Southern District of Florida:

          Chris Draper, Esq.
          Greenspoon Marder
          525 Okeechobee boulevard Suite 900
          West Palm Beach FL 33401
           Attorneys for Defendants



                                                                /s/ Tony Andre
                                                                Tony Andre
